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Dear Judge Walton,

        My name is Refat Hussein Kefel, I am 44 year-old father of three children. My two sisters and I
are visually impaired. I am from the same village of Hanaway in South of Lebanon, just like Kassim
Tajideen.

If not for Kassim Tajideen, I would not have the life I have today, thanks to him, I now live a full and
independent life. Firstly, he has provided me with the home that I live in and without which I would not
have married and had children. Not only do I owe my life to Kassim Tajideen but so does my son, who at
the age of 7 years required heart surgery. Thanks to Kassim Tajideen’s support, my son is perfectly
healthy and is now 10 years old.

Also, my sisters benefited from Kassim Tajideen’s generosity and kindness. One of my sisters had
unsuccessful eye surgery, paid for by Kassim Tajideen, who knew that the chances of a successful
operation would be low but still wanted her to have the operation.

Kassim Tajideen is a humble man who helps all the people from his village without differentiating
between them. He is not a political person. He helps people for no other reason than that they are good
or that they need help. He always tries to visit me in my home when he has the time. He also always
stops to greet me when he drives by me in the street. He is a kind person who always conducts himself
in a respectful manner.



With all respect,

Refaat Hussein Kefel

[Signature]

21-5-2019
